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                       LNITED STATE,S DISTRICT COURT

                               DISTRICT OF MAINE



  ABIL TESHOME,                                        )
                                                       )
        Plaintiff                                      )
                                                           I


                                                       )
        v.
                                                       )
                                                       )
 MAINE STATE PRISON,
                                                      )
 Located in Warren, Maine;                                     COMPLAII{T AI{I)
                                                      )
 ST",\TE OF MAINE/                                             DEMAND FOR
                                                      )
 DEPARTMENT OF CORRECTIONS                                     JURY TRIAL
                                                      )
 Augusta, Maine;
                                                       )
 CORRECT CARE SOLUTIONS,              A                )
 Corporation doing business in Maine organized
                                                       )
 Un<Jer the laws of Tennessee.
                                                       )
 JOHN DOE l; individually and as an ernployee
                                                      )
 Of 'the Maine State prison;
                                                      )
 JOI{N DOE 2; individually and as an employee
                                                      )
 Of the Maine State Prison;
                                                     )
 JOI{N DOE 3; individually and as an employee         )
 Of the Correct Care Solutions;
                                                     )

       Defendants




Now coMES Plaintifl, Abil     Teshome, by and through counsel, Jon     c.   Gale,

Etq., and complains against Defendants as follows:
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                                  JURISDICTION

       1.    This action arises under 42 United States code (u.s.c.) g$ 19g3,

 1985, and 1988; the First, Fourth, Fifth, Eighth and Fourleenth Amendments to the

United States Constitution; Article   I   $S 1, 6, 6-,4. and 9 of the Maine Constitution;

5 M.R.S.A. $ 4682 (the Maine     Civil Rights Act); l5 M.R.S.A. g 70a; and l4

M.FL.S.A. $ 8101 et seq. (the Maine Tort Claims Act).

      2.     This Honorable Court has original jurisdiction of Plaintiff     s


Conrplaint pursuant to 28 U.S.C. $$ I 33 I and 1343.

      3.     This Honorable Court may exercise supplemental jurisdiction over

related state law claims pursuant to 28 U.S.C. $ 1367.

      4.     This Honorable Court wields jurisdiction over each Defendant named

herein pursuant   to l4 M.R.S.A. $ 704-4 in that each Defendant is domiciled         in the

State of Maine.

                                          VENUE

      5.     Venue is properly before this Court pursuant to 28 U.S.C. $ 1391 and

Rule 9(a) of the rules of the United States District Court for the District of Maine

in that all acts complained of occurred in Knox County, Maine.

                                      PARTIES

      6.     Plaintiff, Abil Teshome, is a citizen of the United States and      a


resid.ent of the State of Maine, residing in Warren.

      7.     Defenclant State of Maine/Department of Corrections, is a State
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Agency of the State of Maine that is responsible for the direction and general

administrative supervision, guidance and planning of adult correctional

facilities of the State of Maine, including defendant Maine State Prison,

located in Warren. Maine.

       8.        Defendant Maine State Prison is a correctional facility organized

under the administration of the laws of the State of Maine.

       9.        Defendant Correct Care Solutions is a healthcare company, now

knovrn as Wellpath, that is responsible for provision of healthcare to inmates at the

Mairre State Prison, and did provide healthcare to Abil Teshome after the events            of

May   7th,   2018 and at all times thereafter.

        10.      Defenclant John Doe 1 was at all times mentioned herein acting as an

empiloyee at the Maine State Prison.


        1   1.   Defenclant John Doe 2 was at all times mentioned herein acting as an

employee at the Maine State Prison.

        12.      Defendant John Doe 3 was at all times mentioned herein acting as an

emolovee at for Correct Care Solutions.

        13.      Plaintiff sues all the defendants, and all defendants and

govemmental entities have been served with Plaintiff        s   Notice of Claim, pursuant

to the Maine Tort Cllaims Act, on or before July 15, 2006. See Plaintiff       s   Notice

 of Claim Attached hereto as Exhibit A.
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                            STATEMENT OF FACTS

      14.    Abil Teshome was convicted of Manslaughter and sentenced to a

term of 12 Y, years in May of 2017   .




      15.    As a result of this arrest Plaintiff was incarcerated at the Maine State

Prisc,n that same month.


      16.    Mr. Teshome was one of three co-defendants charged in the death of

Freddy Akoa on August gtt',2015.         All three co-defendants were initially   charged

with Mr. Akoa's murder.

       17.   Mr. Teshome, who was 23 years old at the time of Mr. Akoa's death,

had no violent criminal history.


       18.   One of'the co-defendants in the matter was Mohamud Mohamed,                  a


man more than ten years older than Mr. Teshome, who had a serious and lengthy

criminal history including felony convictions of violence.

       19.   Mohamud Mohamed had spent over eight more hours in the

presence of Mr. Akoa on the night of Mr. Akoa's death than had Mr. Teshome,

who had withdrawn from the scene while Mr. Akoa was still alive.

       20.   Mr. Teshome agreed to plead guilty to Manslaughter, with no            set


sentence, and agreed to testify in the State's case against Mr. Mohamed.


       21.   Thereafter, Mr. Mohamed plead guilty to Murder and was sentenced

to a 30-year term.
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       22.    As a result of this conviction. Mohamud Mohamed was incarcerated

at the Maine State Prison.


       23.    After Mr. Moharned was incarcerated at Maine State Prison, Mr.

Tesfrome was sentenced, and despite the history with Mr. Mohamed, was also

assigned to serve his term at Maine State Prison.


       24.    On the day of Mr. Teshome's arrival, May 18,2017, Maine State

Prison was informed by Mr. Teshome of the facts of his case as it related to Mr.

Mohramed, and specifically requested to be kept apart from Mr. Mohamed for

fear of retaliation.

       25.    In less than a week from the day of his arrival. Mr. Teshome was

direr:ted to walk through an enclosed, outdoor space, as Mr. Mohamed

approached him from the opposite direction.

       26.    Despite attempting to avoid Mr. Mohamed, Abil Teshome was

immediately attacked by Mr. Mohamed, being struck by Mr. Mohamed's fists.

       27.    Mr. Teshome was told by Mr. Mohamed as Mr. Mohamed was

being restrained by a corrections officer,   "I'll get you.   This isn't over."

       28.    For the following several months, Mr. Teshome did not see Mr.

Mohamed at all. Mr. Teshome, driven by his fear of Mr. Mohamed, remained at

all times extremely vigilant in attempting to avoid any contact with Mr.

Motramed.

       29.    In May of 2018, Mr. Teshome was asked to work in the kitchen.
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Before agreeing to do so, Mr. Teshome specifically described to his manager his

concerns about having contact with Mr. Mohamud. Given cerlain assurances,

Mr. 1'eshome agreed to work in the kitchen.

       30.      Mr. Teshome attempted to remain near guards at all times while he

worked at the kitchen.

       31   .   Mr. Teshome was assigned in the spring of   201 8   to direct

inmates where to put the remains of their meals, in a compost bin or in a

trash bin. Upon being given this assignment, Mr. Teshome requested to be

allorved to stand near a guard, but this request was denied.

       32.      On or about May 9th,2018, while working in this specific

capacity in the cafeteria, Mr. Teshome was quickly approached by Mr.

Mohamed and a second inmate.

       33.      Mr. Mohamed and the second man who approached Mr. Teshome

immediately and simultaneously attacked Mr. Teshome with shanks each inmate

carried.

       34.      Mr. Teshome had not initiated contact with either man. and could do

no ntore than attempt to cover himself with his anrrs from the attack, and attempt

to turn away.

       35.      Before any employees of the Maine State Prison intervened, Mr.

Teshr:rme suffered four puncture wounds in his back, wounds to his neck

belorv his left ear, on his cheek below his left eye, on his nose, inside his
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mouth, and several wounds on his left forearm. Many of these wounds left

distinct perrnanent scars.

       36.    As a result of this attack, Mr. Teshome suffered severe pain and

disfigurement.

       37.    As a result of this attack, Mr. Teshome continues to suffer from

severe anxiety, depression, and other psychological maladies.


       38.    Despite the severity of the wounds, Mr. Teshome was not transported

to a hospital, but was instead treated by staff employed by Defendant Correct Care

Solut"ions.


       39.    Mr. Teshome's wounds were only covered by'superficial bandages

by ernployees of Correct Care Solutions.

       40.    As a direct result of Defendants' actions Mr. 'feshome suffered

enonnous amounts of pain and suffered severe emotional distress.

       41.    The Maine State Prison, which is responsible for the training and

super:"vision of the correctional officers, failed in its duty to either train or

supervise the Defendants as they were acting in their capacity as correctional

officers.

       42.    Defendant Department of Corrections Department of Corrections,

State of Maine failed in their responsibility to adequately direct supervise and

guide defendant Maine State Prison to ensure the general safety of Mr. Teshome.
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                                             COUNT I

                                vroLATroN oF 42 U.S.C. $ 1985
          43.      Plaintiff herein incorporates each and every allegation and averment

conterined in Paragrzrphs 1 through 72 as      fully set forth herein.

          44.      Defendants acted in concert and asreed to cornmit acts asainst the

Plaintiff to deny the protections guaranteed by the Fourth, Fifth, Eighth and

Fourteenth Amendments to the United States Constitution.

          45.      Defendants' actions inflicted a wrong and/or injury upon Plaintiff that

resulted in damages.

          46.      Defendants' actions showed a deliberate, malicious, reckless, or

callous disregard of, or indifference to, the rights of Plaintiff.

          WHEREFORE, Plaintiff respectfully prays that this Honorable Courl grant

judgrnent in favor of Plaintiff and against Defendants, and award Plaintiff the

following relief:

          47   .   An amount of damages deemed reasonable by the trier of fact

 sufFi   cient to compensate Plaintiff.

          48.      Punitir,'e damages in an amount sufficient to punish and deter

 Defi:ndants in the future from engaging in this form of malicious conduct.

          49.      An award of pre-judgment interest from the earliest date allowable by

 lar,r,at the highest rate allowable by law.


          50.      Costs and attorneys' fees to the extent allowable by law. See 42
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u.s.c. $ 1e88.

      51.   Such further relief as the Court deems proper and just.



                                      COUNT       II
      vroLATroN oF 42 U.S.C.          $ 1983    - DEFENDANT JOHN DOE I
      52.   Plaintilf herein incorporates each and every allegation and averment

contained in Paragraphs   I through   82 as fully set forth herein.

      53.    Defendant John Doe    I unreasonably and/or intentionally committed

acts and/or omissions while actins under color of state lar.v that violated Plaintiffls

clearly established rights to bodily integrity, to be free from the use of excessive

force, and his right to an action to pursue a claim fbr the deprivation of these rights

as enumerated by the Fourth and Eighth Amendment to the United States

Constitution and Plaintiff s analosous riehts under the Maine Constitution.

      54.    Defendant John Doe 1 unreasonably and/or intentionally committed

acts and/or omissions while acting under the color of state law that violated

Plaintiff s clearly established right to due process    as enumerated by the      Fifth and

Fourteenth Amendments to the United States Constitution and Plaintiff              s


analogous rights under the Maine Constitution.

      55.    A reasonable person would have known that the acts and/or omissions

cornmitted by Defendant John Doe       1   violated Plaintiff   s   rights as guaranteed by

the ll]ourth. Fifth. Eishth and Fourteenth Amendments to the United States
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 Constitution.

       56.    The unlawfulness of Defendant John Doe 1's acts and/or omissions

 was apparent at the time they were committed in light of pre-existing law.

       57.    Defendant John Doe       I's actions showed   a deliberate, malicious,

 reckless, or callous disregard of, or indifference to, the rights ofPlaintiff.

       WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgrnent in favor of Plaintiff and against Defendant, and award Plaintiff the

 followine relief:

       58.    An amount of damases deemed reasonable bv the trier of fact

 suffLcient to compensate Plaintiff.

        59.   Punitive damages in an amount sufficient to punish and deter

 Defi:ndant in the future from engaging in this form of malicious conduct.

       60.    An award of pre-judgment interest from the earliest date allowable by

 law at the highest rate allowable by law.

       61.    Costs and attorneys fees to the extent allowable by law. See 42 U.S.C.

 $ 1e88.

       62.    Such further relief as the Courl deems proper and just.

                                        COUNT     III
        vroLATroN oF 42 U.S.C. S 1983 - DEFENDANT JOHN DOE 2

Plaintiff herein incorporates each and every alleeation and averment contained in


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Paragraphs   I through 95 as fully   set forth herein.



       63'    Defendant John Doe 2 unreasonably and/or intentionally committed

 acts and/or omissions while acting under color of state law that violated     Plaintiff   s

 clearly established rights to bodily integrigy and adequate medical care, to be free

 frorn the use of excessive force and deliberate indifference to an inmate's health

 and safety, and his right to an action to pursue a claim for the deprivation of these

 rights as enumerated by the Fourth and Eighth Amendment to the United States

 Constitution and Plaintiff s analogous rights under the Maine Constitution.

       64.    Defendant John Doe 2 knew of, or reasonable should have known

 about Plaintiff s serious medical needs.

      65.     Defendant John Doe 2 exhibited deliberate indifference to plaintiff      s

 serious medical needs which resulted in a rick of serious damase to   plaintiff   s


health and future functioning.

      66.     Defendant John Doe 2 unreasonably and/or intentionally committed

acts and/or omissions while acting under the color of state law that violated

Plaintiff s clearly established right to due process as enumerated by the Fifth and

Foufteenth Amendments to the United States Constitution and plaintiff      s


analogous rights under the Maine Constitution.

      67.    A reasonable person would have known that the acts and/or omissions

committed by Defendant John Doe 2 violated Plaintiff s rights as guaranteed by



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 the Fourth, Fifth, Eighth and Fourteenth Amendments to the United States

 CorLstitution.


            68.   The unlawfulness of Defendant John Doe 2's acts and/or omissions

 was apparent at the time they were committed in light of pre-existing law.


            69.   Defendant John Doe 2's actions showed a deliberate, malicious,

 reckless, or callous disregard of, or indifference to, the rights ofplaintiff.

            WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgrnent in favor of Plaintiff and against Defendant, and award plaintiff the

following relief:

            a.    An amount of damages deerned reasonable by the trier of fact

suffi cient to compensate Plaintiff.

            b'    Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

            c.    An award of pre-judgment interest from the earliest date allowable by

law   ert   the highest rate allowable by law.

            d.    Costs and attorneys' fees to the extent allowable by law. See 42

u.s.(:1. $ 1988.

            e.    Such furrther relief as the court deems proper and just.



                                         COUNT IV

            VIOLATION OF 42 U.S.C. g l9S3 _ DEFENDANT CORRECT
                                    CARE SOLUTIONS

                                                 t2
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       70. Plaintiff'herein incorporates        each and every allegation and averment

contained in Paragraphs      I through   88 as fully set forth herein.

       TL      The failure to hire, train and supervise employees along with the

policies, customs, and practices of Correct Care Solutions and its policy makers

comprise the cause of, and moving force behind the constitutional violations at

issue in this complaint.

       72.     Defendant Correct Care Solutions knew of, or reasonable should have

knorvn about, Plaintiff s serious medical needs.

       73.     Defendant Correct Care Solutions exhibited deliberate indifference to

Plaintiff s serious medical needs which resulted in a risk of serious damase to

Plairrtiff   s health and future functioning.


       74.     Defendant Correct Care Solutions unreasonably and/or intentionally

comrnitted acts and/or omissions while acting under the color of state law that

violated Plaintiff s clearly established right to due process as enumerated by the

Fifth and Fourleenth Amendments to the United States Constitution and Plaintiff          s


analogous rights under the Maine Constitution.

      75.     A reasonable person would have known that the acts and/oromissions

comrnitted by Defendant Correct Care Solutions violated Plaintifls rishts       as

guaranteed by the Fourth, Fifth, Eighth and Fourteenth Amendments to the United

States Constitution.

      76.     The unlawfulness of Defendant Correct Care Solutions' acts andlor


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omissions was apparent at the time they were committed in light of pre-existing

law.

           17.   Defendant Correct Care Solutions' actions showed a deliberate,

mali;ious, reckless, or callous disregard of, or indifference to, the rights of

Plaintiff.

           WHEREFORE, Plaintiff respectfully prays that this Honorable Courl grant

judgrnent in favor o1'Plaintiff and against Defendant, and award Plaintiff the

follolving relief:

       f.         An amount of damages deemed reasonable by the trier offact

suffi c ient to compensate Plaintiff.

       g.         Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

       h.         An award of pre-judgment interest from the earliest date allowable

by la',v at the highest rate allowable by law.

       i.         Costs and attorneys' fees to the extent allowable by law. See 42

u.s.cr. $ 1988.

       j          Such further relief as the Court deems proper and just.



                                         COUNT V

           vroLATroN oF 42 U.S.C.         $ 1983    - DEFENDANT JOHN DOE 3
           78. Plaintiff herein incorporates   each and every allegation and averment



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  contained in Paragraphs    I through   95 as fully set forth herein.

        79' Defendant John Doe 3 unreasonably          and/or intentionally committed

 actr; and/or omissions   while acting under color of state law that violated plaintiff      s

 clearly established rights to bodily integrity and adequate medical care, to
                                                                              be free

 frorn the deliberate indifference to an inmate's health and safety, and
                                                                         his right to

 an action to pursue a claim for the deprivation of these rights
                                                                 as enumerated by the

 Fourrth and Eighth Amendment to the United States Constitution            plaintiff
                                                                and                      s

 analogous rights under the Maine Constitution.

       80.   Defendant John Doe 3 knew of, or reasonable should have known

 about Plaintiff s serious medical needs.

       81.   Defendant John Doe 3 exhibited deliberate indifference to plaintiff
                                                                                         s

 serious medical needs which resulted in a rick of serious damage        plaintiff
                                                                  to                 s

 health and future functioning.

       82.   Defendant John Doe 3 unreasonably and/or intentionally committed

 acts and/or omissions while acting under the color of state law
                                                                 that violated

Plaintifls clearly established right to due process as enumerated by the Fifth
                                                                               and

Fourteenth Amendments to the United States Constitution and plaintiffls

analogous rights under the Maine Constitution.

      83.    A reasonable person would have known that the acts and/or omissions

committed by Defendant John Doe 3 violated Plaintiff s rights as guaranteed
                                                                            by

the lrourth, Fifth, Eighth and Fourleenth Amendments to the United States


                                             l5
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Constitution.

       84, The unlawfulness      of Defendant John Doe 3's acts and/or omissions

was apparent at the time they were committed in light of pre-existing law.

       85. Defendant John Doe 3's actions showed a deliberate,        malicious,

reckless, or callous disregard of, or indifference to, the rights of Plaintiff.

       WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgrnent in favor oIPlaintiff and against Defendant, and award Plaintiff the

follo'wing relief:

      k.        An amount of damages deemed reasonable by the trier of fact

suffi r.:ient to compensate Plaintiff.

      l.        Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

      m.        An award of pre-judgment interest from the earliest date allowable

by law at the highest rate allowable by law.

      n.        Costs and attorneys' fees to the extent allowable by law. See 42

U.S.rl. $ 1988.

      o.        Such further relief as the Court deems proper and just.



                                         COUNT VI

           vroLATroN oF 42 U.S.C. S 1983 - DEFENDANT STATE OF
                     MAINE/DEPARTMENT OF CORRECTIONS


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        86.      Plaintilf herein incorporates each and every allegation and averment

  corrtained in Paragraphs    I through I l6   as   fully set forth herein.

        87   .   The policy, customs and practices of State of Maine/Department         of
 Corrections acquiesced and its policy makers comprise the cause of and the

 moving force behind the constitutional violations at issue in this complaint.

        88.      At all relevant times Defendant State of Maine/Department of

 Corrections acquiesced in a custom, policy, or practice that violates clearly

 established constitutional rights.

        89' Defendant State of Maine/Department             of Corrections acquiesced

 policies and customs caused the deprivation of plaintiffs clearly established

 constitutional and statutory rights and are tantamount to reckless, callous. or

 deliberate indifference to the rights of plaintiff.

       90.       Defendant State of Maine/Department of Corrections acquiesced

 actions showed a malicious, reckless, or callous disregard of, or indifference
                                                                                to,

 the r:ights of Plaintiff.

       WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgrnent in favor of Plaintiff and against Defendant, and award plaintiff
                                                                           the

following relief:

       a'        An amount of damages deemed reasonable by the trier of fact

suffi cient to compensate Plaintiff.

       b.        Punitive damages in an amount sufficient to punish and deter


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Defe'ndant in the future from engaging in this form of malicious conduct.

        c'       An award of pre-judgment interest from the earliest date allowable

by law at the highest rate allowable by law.

        d.       Costs and attorneys' fees to the extent allowable by law. See 42

u.s.c. s      1988.

        e.       Such further relief as the Court deems proper and just.



                                       COUNT VII

      VIOLATION OF 42 U.S.C. $ 1983                - DEFENDANT MAINE STATE
                                         PRISON

        91.     Plaintiff'herein incorporates each and every allegation and averment

contained in Paragraphs      I through I l6   as   fully set forth herein.

       92.      The policy, customs and practices of Maine State Prison and its policy

makers comprise the cause of and the moving force behind the constitutional

violations at issue in this complaint.

       93. At all relevant times Defendant Maine State Prison acquiesced in a
custom, policy, or practice that violates clearly establishecl constitutional riehts.

       94. Defendant Maine State Prison's policies and customs caused the
deprivation of Plaintiff s clearly established constitutional and statutory rights and

are tantamount to reckless, callous, or deliberate indifference to the rishts   of
Plairrtiff.



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       95. Defendant Maine State Prison's           actions showed a malicious, reckless,

or callous disregard of, or indifference to, the rights of Plaintiff.

       WHEREFOIIE, Plaintiff respectfully prays that this Honorable Courl grant

judgrnent in favor of Plaintiff and against Defendant, and award Plaintiff the

follo,,ving relief:

       f.      An amount of damages deemed reasonable by'the trier offact

suffi cient to compensate Plaintiff.

       g.      Punitive damages in an amount sufficient to punish and deter

Defendant in the future from engaging in this form of malicious conduct.

       h.      An award of pre-judgment interest from the earliest date allowable

by la'w at the highest rate allowable by law.

       i.      Costs and attorneys' fees to the extent allowable by law. See 42

u.s.cr. $ 1988.

       j       Such further relief as the Court deems proper and just.



                                       COUNT       VIII
      vroLATroN oF MArNE CrVrL RIGHTS ACT 5 M.R.S.A. S 4632
       96.   Plaintiff herein incorporates each and every allegation and averment

conti:rined in Paragraphs   I through   131 as    fully set forth herein.

       97.   Def-endants intentionally attempted to interfere by physical force and

threats of physical fbrce with the exercise and enjoyment of Plaintiff s rights



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 secured by the United States and Maine Constitutions and the laws of the United

 States and the State of Maine.

      98.   The aforementioned acts of Defendants caused Plaintiff harm.


      WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintifl'and against Defendants, ancl award plaintiff the

following relief:

      a.     An amount of damages deemed reasonable by the trier offacts

sufllcient to compensate Plaintiff.

      b.     Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

      c'     An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.     costs and attorneys' fees to the extent alrowable by law.

      e.     Such further relief as the court deems proper and just.

                                      COUNT IX

                              CIVI     CONSPIRACY

      99.    Plaintil'f herein incorporates each and every allegation and averment

contained in Paragraphs   I through   132 as     fully set forth herein.

      100. Defendants committed independently recognized torts contained

herein and/or violated Plaintiff s clearly established statutory and constitutional



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 rights.

        101   '   Defendants acted in concert to commit aforementioned unlawful acts

thror:gh unlawful means and in bad f-aith.

        102. Defendants caused harm to Plaintiff.

       WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgrnent in favor of Plaintiff and against Defendants, and award plaintiff the

follo,,ving relief:

       a.         An amount of damages deemed reasonable by the trier of facts

sufficient to compensate Plaintiff.

       b.         Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

       c.         An award of pre-judgment interest from the earliest date allowable bv

law at the highest rate allowable by law.

       d.         costs and attorneys' fees to the extent allowable by law.

       e.         Such further relief as the court deems proper and just.



                                         COUNT X

                       Intentional Infliction of Emotional Distress

       103. Plaintifl'herein incorporates each and every allegation         and averment

contained in Paragraphs       I through 140 as fully   set forth herein.

       104. Defendants       have intentionally or recklessly inflicted severe emotional


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 distress or knew it was certain or substantially certain that such distress would

 result from their conduct.

       105. Defendants conduct was so extreme       and outrageous as to exceed the

 bounds of decency and must be regarded as atrocious anci utterly intolerable in a

 civilized community.

       106.   Defendants actions caused Plaintiff emotional distress that is so severe

that no reasonable man should be expected to endure it.

       WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgment in favor of Plaintiff and against Defendants, and award plaintiff
                                                                           the

following relief:

       a'     An amount of damages deemed reasonable by the trier of facts

suft-rcient to compensate Plainti ff.

      b.      Punitir,'e damages in an amount sufficient to punish and deter

Defendants in the fi,rture from engaging in this form of malicious conduct.

      c.      An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

      d.      costs and attorneys' fees to the extent allowable by law.

      e.      Such further relief as the court deems proper and just.

                                        COUNT XI

                    Negligent Infliction of Emotional Distress

      107. Plaintiff herein incorporates each and every allegation      and averment


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 contained in Paragraphs              I through 140 as fully set forthherein.

               108. Defendants owed a duty to Mr.         Teshome, because a special

 relationship existecl between Defendants and Mr. Teshome, and.lor Defendants

 ha'n,r:   committed another tort.

               109. Defenclants breached their duty to Mr.       Teshome.

               110. Defendants'       actions caused Plaintiff emotional distress that is so

 severe that no reasonable man should be expected to endure it.

               III   '   Defendants' actions caused Mr. Teshome's emotional distress.

               WHEREFORE, Plaintiff respectfully prays that this Honorable Court grant

judgrnent in favor of Plaintiff and against Defendants, and award plaintiff
                                                                            the

following relief:

           f.            An amount of damages deemed reasonable by the trier of facts

suffi cient to compensate Plaintiff.

           g.            Punitive damages in an amount sufficient to punish and deter

Defendants in the future from engaging in this form of malicious conduct.

           h.            An award of pre-judgment interest from the earliest date allowable by

law at the highest rate allowable by law.

           i.            costs and attorneys' fees to the extent allowable by law.

           j             Such further relief as the court deems proper and just.




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                                  JURY REQUEST

      Plaintiff hereby requests a jury trial.



Dated at Portland, Maine this   4th   day of Muy, 2020.



                                                 Jon C.7Gale, Esq.
                                                 Attor,frey for Pl aintiff

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